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 7                                UNITED STATES DISTRICT COURT
 8                              NORTHERN DISTRICT OF CALIFORNIA
 9
                                            OAKLAND DIVISION
10
11
12     UNITED STATES OF AMERICA,                       Case No. CR 12-00083 PJH

13                                                     UNITED STATES’ SENTENCING
                               Plaintiff,              MEMORANDUM AND MOTION FOR
14
                                                       DOWNWARD DEPARTURE PURSUANT
15                    v.                               TO U.S.S.G. §5K1.1

16     DOMINIC LEUNG,                                  Date: December 15, 2017
17                                                     Time: 9:00 a.m.
                              Defendant.               Court: Hon. Chief Judge Phyllis J. Hamilton
18
19
20          The United States respectfully requests that this Court sentence defendant Dominic

21   Leung to (1) serve eight months of custody, based on the government’s motion for a downward

22   departure of 35% from the low end of the applicable Guidelines range for substantial

23   assistance; (2) serve three years of supervised release; and (3) pay a criminal fine of $7,500,

24   restitution in the amount of $45,429, and a $100 special assessment. This sentence is

25   consistent with the parties’ Fed. R. Crim. P. 11(c)(1)(A) and (B) plea agreement.

26                                           BACKGROUND

27          Defendant Dominic Leung is a real-estate investor who participated in the bid-rigging

28   conspiracy at the Contra Costa County foreclosure auctions beginning as early as May 2009 and


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 1   continuing until in or about January 2011. Dkt. 38 (Plea Agreement), ¶ 2. As a member of the
 2   conspiracy, Leung reached agreements with competitors to refrain from bidding at the public
 3   auctions on selected properties and participated in the rounds.
 4           Leung initially started buying properties at trustee sales in approximately 1995 while
 5   working for Wilson Young as an employee of Young’s company, JWI Corporation. Presentence
 6   Report (“PSR”) ¶ 9. Leung worked for Young until 2007, when Leung began selling jewelry on
 7   the internet. Id. In 2009, Leung returned to the trustee sales, this time working for himself and
 8   using money from a family friend to buy properties. Id.
 9           By July or August 2009, Leung decided that he needed help with his business and invited
10   Hilton Wong1 to work with him. Id. ¶10. At the start of Wong’s employment, Leung explained
11   everything about the trustee sales to Wong. Id. Wong attended both the auctions and the rounds
12   as a representative of Leung. Id. Leung and Wong often attended the auctions and rounds
13   together but, at times, Leung attended them without Wong or Wong attended them without
14   Leung and communicated with Leung by telephone. Id.
15           Leung participated in rounds (either by himself or through Wong, acting as his
16   representative, or both) on approximately 100 properties, of which he purchased approximately
17   25 rigged properties. Id. ¶ 11. The parties have agreed that the affected volume of commerce is
18   $2.07 million. Id. The plea agreement obligates Leung to pay $45,429 in restitution, which
19   corresponds to a portion of the payoffs that he received through the conspiracy. Id.
20           Leung was initially interviewed by the FBI on January 11, 2011. During that interview,
21   he stated that he had never participated in any rounds, pay-off schemes, or non-competition
22   agreements, and had no knowledge of such activities relating to foreclosure auctions. Id. ¶ 12.
23   In March 2012, Leung agreed to plead guilty and cooperate with the government. Id. Leung met
24   with the FBI again in April 2012 and admitted to his participation in rounds and payoffs. Id.
25   Leung also met with the FBI for another interview later in April 2012. Id.
26           Defendant was charged by Information in February 2012 with one count of bid rigging
27   1
       In a related case, Hilton Wong was sentenced to three years of probation, including home confinement with
     electronic location monitoring for a period of eight months. See United States v. Hilton Wong, No. CR 12-00082
28   PJH, Dkt. 50 (Sept. 6, 2017).

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 1   (15 U.S.C. § 1) and one count of conspiracy to commit mail fraud (18 U.S.C. § 1349), and
 2   pleaded guilty to both counts in March 2012. Dkt. 1, 11, 12. Those pleas were later withdrawn
 3   by stipulation, and in October 2016, defendant pleaded guilty to the bid-rigging charge only,
 4   pursuant to a revised plea agreement, and the fraud count was dismissed on the government’s
 5   motion. Dkt. 36, 37, 38.
 6                                                 ARGUMENT
 7   A.      Sentencing Guidelines Calculations
 8                  1.      Criminal History
 9           In Paragraph 12 of the Plea Agreement, the parties agree that defendant’s Criminal
10   History Category is determined by the Court. The PSR calculates defendant’s Criminal History
11   Category as I, based on the lack of any prior criminal history, and the United States agrees. PSR
12   ¶ 31.
13                  2.      Offense Level
14           The PSR calculates the total offense level as 13, consistent with the plea agreement. Id.
15   ¶ 26. This calculation includes a one-level increase to the base offense level of 12 for conduct
16   involving the submission of non-competitive bids, a two-level increase for a volume of
17   commerce exceeding $1 million, and a downward adjustment of two levels for acceptance of
18   responsibility. U.S. Sentencing Guidelines Manual (“U.S.S.G.”) §§2R1.1(a)-(b), 3E1.1 (U.S.
19   Sentencing Comm’n 2010).
20           Under the Sentencing Guidelines, an offense level of 13 for a defendant in Criminal
21   History Category I results in a sentence ranging from 12 to 18 months (Zone C).
22                  3.      Fine and Restitution
23           The PSR calculates a fine range of $20,700 to $103,500, consistent with the plea
24   agreement. PSR ¶ 59; U.S.S.G. §2R1.1(c)(1) (fine range shall be from one to five percent of the
25   volume of commerce, but not less than $20,000). In Paragraph 9 of the plea agreement, the
26   government agrees to recommend a fine between $7,500 and $75,000. (This fine range was
27   initially agreed to by the parties in the original plea agreement, based on the application of the
28   fraud Guidelines, and was carried over to the revised plea agreement.)

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 1          As for restitution, while the Mandatory Victim Restitution Act, 18 U.S.C. § 3663, does
 2   not apply to this case, restitution is permitted under 18 U.S.C. § 3583(d) (restitution as
 3   discretionary condition of supervised release). In Paragraph 11 of the plea agreement, the parties
 4   agreed to recommend that the Court order defendant to pay restitution in the amount of $45,429.
 5   B.     Basis for Downward Departure for Substantial Assistance
 6          The government moves, pursuant to Section 5K1.1 of the Guidelines, for a downward
 7   departure for substantial assistance to the investigation under the Rule 11(c)(1)(B) plea
 8   agreement in this case. The government recommends a 35% reduction from the low end of the
 9   Guidelines range of twelve months, resulting in a sentence of approximately eight months.
10          This reduction is based in large part on the timing of defendant’s plea. After the
11   investigation went public in 2011, defendant was among the earliest to agree to plead guilty and
12   cooperate in the government’s investigation, and thus likely influenced many other of his
13   coconspirators to plead guilty as well. The government’s recommendation is also based on the
14   extent and value of the information provided by defendant. After he was initially interviewed by
15   the FBI in January 2011, defendant sat for two debrief interviews with the government, during
16   which he described a number of rounds and payoffs that he had participated in and explained
17   certain records relating to those rounds and payoffs. These interviews were useful to the
18   government for their corroborative value, especially because they occurred early in the
19   investigation. However, defendant did not testify in any of the subsequent trials. Based on the
20   foregoing, a thirty-five percent reduction for substantial assistance is appropriate.
21   C.     Sentencing Recommendation
22          The government’s recommendation of an eight-month sentence is reasonable and not
23   greater than necessary in light of the factors articulated in 18 U.S.C. § 3553. Defendant’s
24   sentence should reflect the seriousness of the offense, promote respect for the law, and afford
25   adequate deterrence to future bid-rigging offenses and white-collar crime generally, as the
26   government has argued in the related cases.
27          Defendant profited directly from the approximately 100 rigged auctions that he
28   participated in, both by receiving more than $45,000 in payoffs and by being able to buy over

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 1   $2 million worth of properties at discounted prices through suppressed bidding at the public
 2   auctions. Given the magnitude of the financial harm caused by defendant’s conduct, the
 3   government’s recommendation, which includes a custodial term, is appropriate and consistent
 4   with the commentary in the applicable Guidelines.
 5          The government recognizes, however, that defendant has expressed remorse for his role
 6   in the offense, chose to cooperate with the government’s investigation, is a first-time offender,
 7   and has agreed to pay restitution. While the government is recommending custody here, as it has
 8   in all the related cases, these factors have led this Court to impose probationary sentences for
 9   similarly-situated defendants.
10                                            CONCLUSION
11          For the foregoing reasons, the United States respectfully requests that this Court
12   sentence defendant Dominic Leung to (1) serve an eight-month custodial sentence; (2) serve
13   three years of supervised release; and (3) pay a criminal fine of $7,500, restitution in the
14   amount of $45,429, and a $100 special assessment.
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16   Dated: December 8, 2017                               Respectfully submitted,
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                                                           /s/ MICHAEL RABKIN
18                                                         United States Department of Justice
                                                           Antitrust Division
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